Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 1 of 6 PageID: 212
Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 2 of 6 PageID: 213
Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 3 of 6 PageID: 214
Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 4 of 6 PageID: 215
Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 5 of 6 PageID: 216
Case 2:09-cr-00265-SDW   Document 50   Filed 09/09/09   Page 6 of 6 PageID: 217
